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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                                :          CASE NO. 17-64941-SMS
                                                      :
ROGER CARROLL BURGESS,                                :          CHAPTER 7
                                                      :
         Debtor.                                      :
                                                      :



              TRUSTEE'S MOTION FOR APPOINTMENT OF SPECIAL COUNSEL

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Trustee” or “Applicant”) for

the bankruptcy estate (the “Bankruptcy Estate”) of Roger Carroll Burgess (“Debtor”), and moves

this Court for an Order authorizing him to retain as special counsel on behalf of the Bankruptcy

Estate: Matthews & Associates; Freese & Goss; and J. Shafer Law (collectively, “Special

Counsel”) with respect to any and all claims outstanding for injuries and losses resulting from a

product liability claim, and respectfully shows this Court as follows:

         1.        Debtor filed a voluntary petition for relief under Chapter 7 of Title 11 of the United

States code on August 28, 2017.

         2.        Trustee was thereafter appointed and remained the duly acting Chapter 7 trustee in

this Case. On September 22, 2017, the Case was dismissed for Debtor’s failure to pay filing fee.

[Doc. No. 12]. On October 6, 2017, the Court entered an Order vacating the dismissal and

extending the deadline to object to discharge and dischargeability. [Doc. No. 18].

         3.        On August 2, 2018, the Court entered an order discharging Debtor and closing the

Bankruptcy Estate. [Doc. No. 39].




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        4.    On January 20, 2021, Nancy J. Gargula, United States Trustee for Region 21,

filed a Motion to Reopen after the Trustee was contacted by an attorney representing the Debtor

in a product liability case (the “Litigation”) and a proposed settlement and a proposed net

payment to the Debtor (the “Settlement”). On January 21, 2021, the Court granted the Motion

to Reopen the Case. [Doc. No. 42].

        5.    Trustee was thereafter reappointed the Chapter 7 trustee in the Case. [Doc. No. 49].

        6.    Trustee has investigated the Claims related to the Litigation and the proposed

Settlement.

        7.    Trustee has selected Special Counsel for their experience and qualifications in this

type of litigation and because Special Counsel has been handling the foregoing Litigation for

Debtor. The verified statement of Special Counsel is attached and incorporated herein as Exhibit

“A,” Exhibit “B,” and Exhibit “C,” respectively.

        8.    The professional services Special Counsel may render include:

                      (a)    To give Trustee legal advice regarding any trial or

                             settlement offer with respect to the Litigation;

                      (b)    To examine and defend the examination of witnesses

                             in the Litigation matters in deposition, administrative

                             hearings, or at trial;

                      (c)    To prepare on Plaintiff/Trustee's behalf motions,

                             pleadings, discovery papers, and all other papers

                             reasonably necessary to pursue said Litigation;

                      (d)    To prepare form of pre-trial orders, prepare the cases

                             for trial, try the cases, and prosecute any appeals or


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                                related proceedings as may arise from the Litigation

                                matters; and

                        (e)     To     perform     all    other   legal   services   for

                                Plaintiff/Trustee in the Litigation matters.

        9.      On or about April 14, 2014, Debtor entered into a representation agreement with

Special Counsel, a true and correct copy of which is attached as Exhibit “D” (the “Contract”), to

pursue claims pertaining to certain product liability injuries suffered by Debtor. The Contract

provides that Special Counsel will be paid 40% of the gross amount paid as settlement proceeds or

as satisfaction of any judgment as compensation for legal services rendered in connection with the

claim, after a lawsuit is filed. However, any proposed settlement or fee awarded to Special

Counsel will be subject to and not binding without approval of the Bankruptcy Court.

        10.     Special Counsel represents no interest adverse to Trustee or the Bankruptcy Estate in

the matters upon which Special Counsel is to be engaged, and the employment of Special Counsel is

in the best interests of this Bankruptcy Estate. To the best of Applicant’s knowledge, and except as

otherwise disclosed herein and in the Bankruptcy Rule 2014 Verifications of Special Counsel,

Special Counsel has no connection with Debtor, his creditors, any party in interest in this case, their

attorneys and accountants, the United States Trustee, or any person employed in the Office of the

United States Trustee. Disclosure is again made, however, that Special Counsel represented Debtor

prior to and after the Petition Date in the Litigation.

        11.     The Contract will continue as the fee arrangement for Special Counsel, except that

compensation of Special Counsel for services rendered and any ordinary and necessary expenses

incurred are subject to approval of this Court, following appropriate application and notice. In

addition, Trustee has crossed out all provisions of the Contract that will not be applicable in Special


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Counsel’s representation of the Trustee and the Bankruptcy Estate, including any rights of Special

Counsel to act as attorneys-in-fact on behalf of Trustee or the Bankruptcy Estate, to withhold or

deposit settlement funds in Special Counsel’s escrow account, and to hire or associate in other

attorneys. In addition, Trustee has removed and is not agreeing to any arbitration provisions in the

Contract.

        12.      Trustee proposes that Special Counsel be compensated for its services in accordance

with future orders of the Court based upon the criteria for professional compensation required by

bankruptcy law.      No compensation will be paid by Trustee to Special Counsel except upon

application to and approval by the Court after notice and hearing as required by law.

        WHEREFORE, Trustee prays that this Motion be granted, enabling him to retain Special

Counsel as special counsel for such purposes as requested herein and that the Court grant such other

relief as is just and proper.

        Respectfully submitted this 13th day of May, 2021.


                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Trustee

                                                      By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                            Michael J. Bargar
Atlanta, GA 30363                                          Georgia Bar No. 645709
(404) 873-8500                                             michael.bargar@agg.com




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                                             EXHIBIT "B"
                       RULE 2014 VERIFICATION WITH REGARD TO
                             EMPLOYMENT OF ATTORNEYS


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             , DP DQ DWWRUQH\ RI WKH ODZ ILUP )UHHVH  *RVV0DSOH$YH6WH
'DOODV7H[DV (the “Firm”).

             7KH )LUP KDV EHHQ DVNHG WR UHSUHVHQW 6 *UHJRU\ +D\V DV &KDSWHU  7UXVWHH
(“Trustee”) in the bankruptcy case of 5RJHU&DUUROO%XUUHVV (“Debtor”) as special counsel. To
WKHEHVWRIP\NQRZOHGJHWKH)LUPKDVQRSURIHVVLRQDOEXVLQHVVRURWKHUFRQQHFWLRQZLWKWKH
DIRUHPHQWLRQHG 'HEWRU KLV FUHGLWRUV DQ\ SDUW\ LQ LQWHUHVW LQ WKLV FDVH WKHLU DWWRUQH\V DQG
DFFRXQWDQWVWKH8QLWHG6WDWHV7UXVWHHRUDQ\SHUVRQHPSOR\HGLQWKH2IILFHRIWKH8QLWHG6WDWHV
7UXVWHHH[FHSWDVVHWIRUWKEHORZ 'LVFORVXUHLVPDGHWKDWWKH )LUPKDVUHSUHVHQWHGDQGGRHV
UHSUHVHQW 'HEWRU LQ D PDWWHU UHODWHG WR D SURGXFW OLDELOLW\ FODLP ZKLFK LV WKH H[DFW PDWWHU IRU
ZKLFK7UXVWHHLVVHHNLQJHPSOR\PHQWRIWKH)LUPDV6SHFLDO&RXQVHO

             , DP DQG HYery person in the Firm is a “disinterested person” as defined by
6HFWLRQ  RIWKH%DQNUXSWF\&RGHUHJDUGLQJWKHDIRUHPHQWLRQHG'HEWRU %XUJHVV&K
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            1HLWKHU,QRUDQ\SHUVRQLQWKH)LUPLVUHODWHGWRDQ\-XGJHRIWKLV&RXUWRUVR
FRQQHFWHG QRZ RU LQ WKH SDVW ZLWK DQ\ -XGJH RI WKLV &RXUW DV WR UHQGHU VXFK DSSRLQWPHQW
LPSURSHU

             ,DFNQRZOHGJHXQGHUVWDQGDQGDJUHHWKDWWKH&RQWUDFWIRU6Hrvices (Exhibit “'”
WRWKH$SSOLFDWLRQ ZLOOQRWDSSO\WR7UXVWHHZLWKUHVSHFWWR D FRVWUHLPEXUVHPHQWVXQOHVVVR
DSSURYHG E\ WKH %DQNUXSWF\ &RXUW LQ WKLV FDVH DQG E  DVVRFLDWLQJ RWKHU FRXQVHO XQOHVV WKH
7UXVWHHDQG%DQNUXSWF\ &RXUWDXWKRUL]HLW,DOVRDFNQRZOHGJHXQGHUVWDQGDQGDJUHHWKDWDOO
parts of the Contract that have been marked out shall not apply in the Trustee’s employment of
WKH)LUP

             , IXUWKHU DFNQRZOHGJH XQGHUVWDQG DQG DJUHH WKDW D  RQO\ WKH 7UXVWHH FDQ
DXWKRUL]HDQGWKH%DQNUXSWF\ &RXUWLQWKLVFDVHDSSURYHDVHWWOHPHQWRIWKHVXEMHFWFODLPV E
QR VHWWOHPHQW LV ELQGLQJ RU YDOLG XQOHVV DXWKRUL]HG E\ WKH 7UXVWHH DQG DSSURYHG E\ WKH
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%DQNUXSWF\ &RXUW PXVW EH UHPLWWHG WR WKH 7UXVWHH ZLWK QR KROG EDFN IRU SD\PHQW RI
FRPSHQVDWLRQRUUHLPEXUVHPHQWRIH[SHQVHVWRPHRUP\)LUP DQG G WKDWRQO\DIWHUDQDZDUG
E\WKH%DQNUXSWF\&RXUWLQWKLVFDVHDIWHUDSSURSULDWHDSSOLFDWLRQE\WKH7UXVWHHRIP\IHHVDQG
H[SHQVHVZLOO,RUP\)LUPEHHQWLWOHGWREHSDLGVXFKFRPSHQVDWLRQDQGUHFHLYHUHLPEXUVHPHQW
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LQVXUDQFH FRYHUDJH LQ WKH DPRXQW RI BB
                                           2 PLOOLRQ DQG KDV SURYLGHG WKH GHFODUDWLRQ SDJH RI LWV
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has no effect on Trustee’s administration of this claim or the foregoing conditions of my
HPSOR\PHQW

             7KH )LUP ZLOO QRW H[SHFW QRU UHFHLYH DQ\ FRPSHQVDWLRQ IURP WKH HVWDWH H[FHSW
XSRQDSSOLFDWLRQWRDQGDSSURYDOE\WKH%DQNUXSWF\&RXUWDIWHUQRWLFHDQGKHDULQJ


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insurance coverage in the amount of $1 million and has provided the declaration page of its
policy to Trustee.

      8.      I further acknowledge, understand, and agree that a discharge issued in the case
has no effect on Trustee’s administration of this claim or the foregoing conditions of my
employment.

       9.      The Firm will not expect nor receive any compensation from the estate except
upon application to and approval by the Bankruptcy Court after notice and hearing.


        Dated this 11th day of May, 2021.


                                                  Jeremy C. Shafer
                                                  California Bar No. 235318




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                             EXHIBIT "D" FOLLOWS




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                              Georgia



                             Fulton County, Georgia.
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                                   CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing TRUSTEE'S MOTION FOR

APPOINTMENT OF SPECIAL COUNSEL by depositing in the United States mail a copy of

same in a properly addressed envelope with adequate postage affixed thereon to assure delivery

by first class mail to the following entities at the addresses stated:

Office of the United States Trustee
362 United States Courthouse
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Roger Carroll Burgess
2612 Leland Drive
Augusta, GA 30909

Wendy C. Elsey
Matthews & Associates
2905 Sackett Street
Houston, TX 77098

Peter de law Cerda
Freese & Goss
3031 Allen Street, Suite 200
Dallas, TX 75204

Jeremy Shafer
J.Shafer Law
1010 Turquoise Street, Suite 201
San Diego, CA 92109


        This 13th day of May, 2021.
                                                        /s/ Michael J. Bargar
                                                        Michael J. Bargar
                                                        Georgia Bar No. 645709




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